 Case 2:98-cr-80812-PDB ECF No. 732, PageID.10926 Filed 04/15/14 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                    CRIM. CASE NO. 98-80812
               Plaintiff,

v.                                                  PAUL D. BORMAN
                                                    UNITED STATES DISTRICT JUDGE

D-4 DURAND FORD,

            Defendant.
_____________________________/

                               ORDER
     DENYING DEFENDANT’S MOTION FOR SENTENCING REDUCTION (Dkt #681)
        SEEKING TO APPLY SENTENCING COMMISSION AMENDMENT 750
                RETROACTIVELY, TO LOWER HIS SENTENCE

        In United States v. Blewitt, __F.3d__, 2013 WL 6231727 (6th Cir. 2013), the United

States Court of Appeals, en banc, held the Fair Sentencing Act of 2010 “does not retroactively

undo final sentences.”

        Accordingly, Defendant’s Motion is DENIED.

        SO ORDERED.



                                            s/Paul D. Borman
                                            PAUL D. BORMAN
                                            UNITED STATES DISTRICT JUDGE

Dated: April 15, 2014
 Case 2:98-cr-80812-PDB ECF No. 732, PageID.10927 Filed 04/15/14 Page 2 of 2




                                 CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or
party of record herein by electronic means or first class U.S. mail on April 15, 2014.


                                            s/Deborah Tofil
                                            Case Manager
